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                                  EXHIBIT B:
Press Release, Dep’t of Justice, Appointment of Special Counsel (May 17, 2017)


          Defendant Concord Management and Consulting LLC’s
      Motion to Dismiss the Indictment Based on the Special Counsel’s
      Unlawful Appointment and Lack of Authority to Indict Concord,
               United States v. Internet Research Agency LLC,
                   Criminal Action No. 18-00032 (DLF)
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        JUSTICE NEWS

                                                             Department of Justice

                                                             Office of Public Affairs


      FOR IMMEDIATE RELEASE                                                                           Wednesday, May 17, 2017


                                                  Appointment of Special Counsel

      Deputy Attorney General Rod J. Rosenstein today announced the appointment of former Department of Justice official
      and FBI Director Robert S. Mueller III to serve as Special Counsel to oversee the previously-confirmed FBI investigation
      of Russian government efforts to influence the 2016 presidential election and related matters.

      “In my capacity as acting Attorney General, I determined that it is in the public interest for me to exercise my authority
      and appoint a Special Counsel to assume responsibility for this matter,” said Deputy Attorney General Rosenstein. “My
      decision is not a finding that crimes have been committed or that any prosecution is warranted. I have made no such
      determination. What I have determined is that based upon the unique circumstances, the public interest requires me to
      place this investigation under the authority of a person who exercises a degree of independence from the normal chain
      of command.”

      Deputy Attorney General Rosenstein added, “Each year, the career professionals of the U.S. Department of Justice
      conduct tens of thousands of criminal investigations and handle countless other matters without regard to partisan
      political considerations. I have great confidence in the independence and integrity of our people and our processes.
      Considering the unique circumstances of this matter, however, I determined that a Special Counsel is necessary in
      order for the American people to have full confidence in the outcome. Our nation is grounded on the rule of law, and the
      public must be assured that government officials administer the law fairly. Special Counsel Mueller will have all
      appropriate resources to conduct a thorough and complete investigation, and I am confident that he will follow the facts,
      apply the law and reach a just result.”

      Special Counsel Mueller has agreed to resign from his private law firm in order to avoid any conflicts of interest with firm
      clients or attorneys.

      A copy of the order is attached.

      Attachment(s):
      Download Order 3915-2017 (Special Counsel)

      Component(s):
      Office of the Deputy Attorney General

      Press Release Number:
      17-541

                                                                                                            Updated May 17, 2017




https://www.justice.gov/opa/pr/appointment-special-counsel                                                                           1/1
